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              UnitedStatesofAmerica                          )
                        v.                                   )
             JARRETT KENDALLDOSS                             ) CaseNo: 4:09CR00006-002
                                                             ) USM No:10483-084
DateofPreviousJudgment:             06/25/2012               )
(UseDateofLastAmendedJudgmentifApplicable)                   ) Defendant'sAttorney
              OrderRegardingM otion forSentenceReductionPursuantto 18U.S.C.j3582(c)(2)                         ',
       UponmotionofFZl
                    71thedefendantU.
                                   ItheDirectoroftheBureauofPrisonsU1thecourtunder18U.SJC.
j3582(c)(2)forareduction intheterm ofimprisonmentimposedbasedonaguidelinesentencingrangethathms
subsequently been lowered and maderetroactiveby theUnited StatesSentencing Com mission pursuantto 28U .S.C.
j994(u),andhavingconsideredsuchmotion,
IT IS ORDERED thatthem otion is:
       N DENIED. Z GRANTEDandthedefendant'spreviouslyimposedsentenceofimprisonment(as.reflectedin
                        thelastjudgmentissued)of 72                      monthsisreduced to '45 months*                 .
1. COURT DETERM INATION OF GUIDELINE RANGE (PriortoAnyDepartures)
PreviousOffenseLevel:      33               Amended OffenseLevel:                            31
Crim inalHistory Category: IV               Crim inalHistory Category:                       IV
PreviousGuideline Range:      to 240 months Am ended GuidelineRange:                         151        to 188 months
Il. SENTENCE RELATIVE TO AM ENDED GUIDELINE M NGE
r.
 R Thereducedsentenceiswithintheamendedguidelinerange.                                       .
I71Thepreviousterm ofimprisonmentimposedwaslessthantheguidelinerangeapplicabletothedefendantatthetime
   ofsentencing asaresultofa departureorRule35 reduction,andthereduced sentence iscomparably lessthan the
   amended guidelinerange.
N Other(explain):



111. ADDITIONAL COM M ENTS
     Defendantissentenced to45 m onths!butnotIessthan tim e served. Defendant'ssentence is to be served
     consecutivel
                yto any otherpreviouslyImposed stateorfederalsentence,including the sentences imposed in
    4:05CR00013-001 and 4:04CR70070-001.

Exceptasprovidedabove,allprovisionsofthejudgmentdated 06/25/2012 shallremain ineffect.
IT IS SO ORDERED.

orderoate:            wq.J:                                              '                      ,
                                                                                                '
                                                                                 Judge'ssignature

EffectiveDate:           11/01/2015                                Hon.Jackson L.Kiser,SeniorU.S.DistrictJudge
                 (ifdifferentfrom orderdate)                                    Printednameandtitle
